983 F.2d 1055
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Barry Lane CAREY, Petitioner-Appellant,v.W. D. BLANKENSHIP;  Mary Sue Terry, Attorney General of theState of Virginia, Respondents-Appellees.
    No. 92-7048.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  December 9, 1992Decided:  December 31, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, Magistrate Judge.  (CA-92-56-R)
      Barry Lane Carey, Appellant Pro Se.
      Marla Lynn Graff, Assistant Attorney General, Eugene Paul Murphy, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      Dismissed.
      Before MURNAGHAN and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Barry Lane Carey seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Carey v. Blankenship, No. CA-92-56-R (E.D. Va.  Sept. 22, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    